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FoR THE WESTERN DISTRICT oF TENNESSEE w
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UNITED S'I`ATES OF AMERICA

 

V. 05-20234-D

WILLIE ELLIS

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on § " 3 " 0 5 , the United States Attorney
for this district appeared on behalf of the government, and the defendant appeared in person and With
eounsel:

NAME 10a/n i_~igm;.‘n who is Rerained/Apgoimed.

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be Hled Within thirty (3 O) days from the date hereof unless, for good cause
Shown to a District Judge, such period is extended.

The defendant, who is not in custody, may stand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held Without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

cszam@

UNITED STATES MAGISTRATE .TUDGE

CHARGES; 18:922(§);

U. S. Attomey assigned to Case: D. Pritchard
Age: 3 0

 

Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case 2:05-CR-20234 Was distributed by faX, mail, or direct printing on
August 5, 2005 to the parties listed.

 

 

Pamela B. Harnrin

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Honorable Bernice Donald
US DISTRICT COURT

